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                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED               )
STATES VIRGIN ISLANDS                  )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )            Case Number: 1:22-cv-10904-JSR
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Defendant/Third-Party Plaintiff. )
____________________________________)
                                       )
JPMORGAN CHASE BANK, N.A.              )
                                       )
      Third-Party Plaintiff,           )
                                       )
      v.                               )
                                       )
JAMES EDWARD STALEY                    )
                                       )
      Third-Party Defendant.           )
____________________________________)

        GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS’
             MOTION TO EXCLUDE EXPERT OPINIONS OF
   KIMBERLY MEHLMAN-OROZCO, JOSEPH FONSECA AND CARLYN IRWIN

       Pursuant to Rule 702 of the Federal Rules of Evidence, Plaintiff, the Government of the

United States Virgin Islands (“Government”), respectfully moves for an Order excluding the

expert opinions of Kimberly Mehlman-Orozco, Joseph Fonseca, and Carlyn Irwin. The reasons in

support of the Government’s motion are set forth in the Memorandum of Law filed herewith.

       As set forth in the Court’s August 14 Minute Entry, the Government’s moving papers shall

be filed no later than August 18, 2023; Defendant’s responsive briefs shall be filed no later than

August 25, 2023; and the Government’s reply shall be filed no later than August 31, 2023. Oral

argument shall be held on September 6, 2023 at 9:00 a.m.
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Dated: August 18, 2023              ARIEL SMITH, ESQ.
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